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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 22-CR-376-JEB
                                             :
BRIAN SIZER,                                 :
                                             :
                      Defendant.             :


                                     NOTICE OF FILING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby notifies the Court of the submission of exhibits in support of its

recommendation at the sentencing hearing in the above-captioned matter. Copies of the exhibits

have been submitted to the Court and made available to defense counsel via the government’s file-

sharing site, USAfx. Each exhibit is briefly identified and described below:

           •   Exhibit A: video taken on defendant Brian Sizer’s cellular phone on January 6,
               2021;
           •   Exhibit B: video depicting the breach of the Parliamentarian Door on January 6,
               2021;
           •   Exhibit C: video depicting the breach of the Parliamentarian Door on January 6,
               2021;
           •   Exhibit D: open-source video depicting the Northwest Courtyard on January 6,
               2021;
           •   Exhibit E: video taken on Julia Sizer’s cellular phone on January 6, 2021;
           •   Exhibit F: Closed Circuit Video footage of defendant Brian Sizer’s entrance into
               the U.S. Capitol through the Parliamentarian Door on January 6, 2021;
           •   Exhibit G: video taken on Julia Sizer’s cellular phone on January 6, 2021.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             DC Bar No. 481052


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                     By:   /s/ Kaitlin Klamann
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